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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF ALASKA
              Civil Action, File No. 3:06-cv-00205-JWS

RONALD L. and DEBBIE L. HALSEY     )
                                   )
               Plaintiffs,         )
                                   )
                                   ) MOTION FOR SUMMARY
                                   ) JUDGMENT AND MEMORANDUM
                                   ) IN SUPPORT OF MOTION
ADMINISTRATOR,                     )
WAGE AND HOUR DIVISION, UNITED     )
STATES DEPARTMENT OF LABOR,        )
                                   )
               DEFENDANTS.         )
___________________________________)

     MOTION AND BRIEF OF PLAINTIFFS IN SUPPORT OF THE MOTION

I.   JURISDICTION

     Plaintiffs filed a timely complaint in the District Court

seeking judicial review of the Final Decision and Order of the

United   States   Department   of   Labor    Administrative   Review   Board
issued September 29, 2005 affirming an administrative decision and

order issued by Administrative Law Judge William Dorsey against

respondents   on    October    23,    2003     and   February    2,    2004,

respectively, granting the Government Summary Judgment against

respondents/plaintiffs Halseys for violation of the Child Labor

provisions of the Fair Labor Standards Act and issuing an Order

Setting Civil Money Penalty against respondents/plaintiffs in the

sum of $11,700.00.      Pursuant to 29 CFR 580.13 the Secretary of


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Labor and the Administrative Review Board had jurisdiction to hear

the administrative appeal. Title 5 U.S.C. Sec. 702 provides for

judicial review by the District Court of this agency’s action in

this case.

        Plaintiffs seek summary judgment against DOL and by way of

Fed. R.Civ.P. 56 so move for summary judgment on the grounds that

there are no genuine issues of material fact to be litigated and

plaintiffs are entitled to judgment as a matter of law.

II.     STANDARD OF REVIEW

        Summary   judgment    should      be   granted    when,     viewing    the

evidence in the light most favorable to the nonmoving party, no

genuine issues of material fact remain and the party moving for

summary judgment is entitled to judgment as a matter of law.

Fed.R.Civ.P. 56; Cleary v. News Corp., 30 F 3d. 1255, 1259 (9th

Cir. 1994). The party moving for summary judgment has the initial

burden of showing the absence of a genuine issue of material

fact.       Adikes v. S.H. Kress and Co., 398 U.S. 144, 90 S. Ct.

1598, 26 L.Ed.2d 142 (1970). Zoslaw v. MCA Distribution Corp.,
693   F.2d     879,   883   (9th   Cir.   1982),    cert.   denied     460    U.S.

1085(1983). Summary judgment should be granted where the evidence

is such that it would require a directed verdict for the moving

party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251 (1986).

        A   principal   purpose    of   the    summary   judgment    rule     is   to

isolate and dispose of factually unsupported claims or defense and

[the rule] should be interpreted in a way that allows it to

accomplish this purpose. Celotex Corp. v. Catrett, 477 U.S. 317,
323-24 (1986).        Where a party has the burden of proving an element


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essential to its case at trial, and the party does not make a

showing sufficient to establish the existence of that element,

there can be no genuine issues to any material fact since a

complete failure of proof concerning an essential element of the

non-moving      party's   case   necessarily     renders   all    other   facts

immaterial.     Celotex Corp., 477 U.S. at 322-23.
III. ISSUES FOR REVIEW

A.   DID ARB ERR IN AFFIRMING SUMMARY JUDGMENT TO DOL ON QUESTION
     WHETHER RESPONDENTS ARE EXEMPT FROM CHILD LABOR PROVISIONS OF
     FLSA?

     1.      Did the Administrative Review Board (ARB) err in
             concluding that the Halseys are subject to coverage
             under the Fair Labor Standards Act (FLSA)?

B.   DID ADMINISTRATIVE LAW JUDGE (ALJ) ERR IN GRANTING SUMMARY
     JUDGMENT TO PETITIONER ON QUESTION WHETHER RESPONDENTS IN
     2002 VIOLATED CHILD LABOR PROVISIONS OF FAIR LABOR STANDARDS
     ACT (FLSA)?

     1.      Did the ARB err in concluding that the Halseys employed
             Gammon in oppressive labor and therefore, violated
             Section 212 (c) of the FLSA?

     2.      Did the ARB err in concluding that Gammon was not a
             self-employed independent contractor, but was an
             employee for purposes of the FLSA?

C.   DID ARB ERR IN AFFIRMING ORDER ASSESSING CIVIL PENALTY?

     1.      Did the ARB err in concluding that the Administrative
             Law Judge (ALJ) properly assessed a civil monetary
             penalty of $11,700 for the Halseys’ violation of
             Section 212(c) of the FLSA?

III. STATEMENT OF CASE AND COURSE OF PROCEEDINGS BELOW

     A.      STATEMENT OF CASE

     The facts in this case are not in dispute.                   Plaintiffs,

Ronald    and   Debbie    Halsey,   are   sole   proprietor      owners   of   a



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commercial set gillnet salmon fishing enterprise in Cook Inlet,

Alaska near the central Kenai Peninsula, within 1 and 1/2 miles

of the eastern shore of the inlet. (Administrative Record Docket

12,   HALS    0000130-133   -   Respondents’   Exhibit   1,   Affidavit     of

Ronald L. Halsey filed in support of Opposition to Petitioner’s

Motion for Summary Judgment and Respondents’ Cross Motion for

Summary      Judgment).   Plaintiffs'   fishing   enterprise    is    in   the

business of catching fish for sale. In the summers of                2001 and

2002, Plaintiffs held entry permits from the State of Alaska to

sell commercially caught salmon using set net fishing gear in the

Cook Inlet.      The salmon set net season is from July 1 to August 7

of each year. The fishing periods are for 12 hours on Mondays and

Thursdays from 7 a.m. to 7 p.m.         Using a 22 foot boat of the type

commonly used for set net salmon fishing in the inlet, plaintiffs

during open fishing periods place their stationary nets about 1

1/2 miles from the Cook Inlet's eastern shore to catch fish.

      The business activity connected with plaintiffs' commercial

fishing enterprise extends beyond merely catching salmon during

the fishing season. Before the season opens each year the Halseys

obtain supplies, groceries, fuel and other items needed for the

fishing season. They also prepare the nets, equipment and fishing

vessel to get ready for use before the season starts.           After each

season is over and catching of fish comes to an end, plaintiffs

close down the catching operation by putting the gear, equipment

and fishing vessel away for the winter. This includes pulling

their set net gear from the water, such as buoys and buoy lines,

putting the nets in storage for the winter, putting the fishing


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vessel away for winter, doing maintenance and repair work on the

boat, boat motor and other equipment as needed, so that these are

ready for use for the next season. The enterprise engages the

services of crewpersons to help and assist in the catching of

salmon during the fishing season. All of the pre-season and post-

season work of the enterprise is done solely by plaintiffs.

      For the 2001 and 2002 fishing seasons plaintiffs' enterprise

engaged the services of Samuel Gammon as a crewperson to assist

in the catching of salmon. In 2001 Gammon was 13 years old when

he worked as a crewperson.       In 2002 Gammon was 14 years old when

he worked as a crewperson. The Halseys knew Gammon's age in 2001

and 2002. As a crewperson, Gammon helped set and remove the

gillnets at the opening and closing of fishing periods, removed

fish caught in the nets to the boat, and unloaded fish from the

boat on shore when the boat came in to shore with the fish.

Gammon did not take any of the fish from the shore to the fish

processor for sale.         Gammon did not work more than 12 hours a

day, or during the school term. Gammon did not suffer any injury

in   the   2001   fishing    season.   For   both   fishing   seasons   the

enterprise paid for Gammon's fishing license and provided him a

life jacket and other gear, such as gloves and hip boots, to use

in fishing. The Halseys never thought engaging the services of

Gammon as a crewperson to assist in the catching of fish was a

violation of any law.

      The gross sales revenue of the Halseys' enterprise from the

sale of the salmon caught for the 2001 season was $13,073.20.           In

2002 the enterprise sold its catch to Ocean Beauty Seafoods, a


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fish processor. The gross sales revenue from Halseys' 2002 catch

was $11,927.87. Ocean Beauty combined the fish purchased from the

Halseys with others caught in Cook Inlet by set net fishermen and

sent   it    to   a    Seattle,   Washington    facility     for   processing.

According to Ocean Beauty, 95% of all salmon purchased from Cook

Inlet set net fishermen like the Halseys are sent to Seattle for

processing. For the years Gammon was a crew person the enterprise

paid him a percentage of the gross revenue as a crew share and

compensation for his work. Gammon's pay for the 2001 and 2002

seasons were reported to the Internal Revenue Service (IRS) as

non-employee compensation.

       The   fishing    crew   for   2002   consisted   of   Ron   and   Debbie

Halsey, Cody McVay (age 20), and Gammon.                At the end of the

fishing period of July 12, 2002, while the Halseys and the crew

were about 1 1/2 miles off shore in the fishing boat removing the

nets from the water, a large wave capsized the boat. Everyone in

the boat went overboard. Everyone was wearing life preservers.

Ronald Halsey was able to swim to shore and summon help from

other fishermen who recovered Debbie Halsey and Cody McVay alive

from the water, but Samuel Gammon, who suffered hyperthermia,

died from the accident.
       B.    PROCEEDING BELOW

       After the accident in which Gammon died, the Administrator

of the Wage and Hour Division of the United States Department of

Labor (Government) assessed a civil money penalty in the amount

of $11,700 against the Halseys and their enterprise for employing

a minor in violation of the child labor provisions of Section


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12(c) of the FLSA of 1038, as amended; 29 U.S.C. §201 through 219

(the Act). (Administrative Record Docket 1, HALS 0000001-3 –

Assessment of Civil Money Penalty Against Halsey, Ronald L. and

Debbie     L.    dated   10-02-2002).   The   Halseys      timely    filed     an

exception to that determination and, pursuant to 29 CFR §580.6,

the matter was submitted to the Office of Administrative Law

Judges     for   decision.    (Administrative     Record    Docket    2,     HALS

0000004 – Halseys’ Letter or Exception dated 10-11-2002).

     The Government moved for partial summary judgment asserting

that the Halseys violated the child labor provisions of the Act

as a matter of law because 1) Gammon was an employee; 2) all

elements    of    a   child   labor   violation    were    present;    and     3)

Plaintiffs failed to demonstrate that Gammon was something other

than an employee. (Administrative Record Docket 9, HALS 0000030-

96 - Plaintiff’s Motion for Partial Summary Judgment).                       The

Halseys made a cross motion for summary judgment asserting that

no violation of the Act occurred because 1) the Government does

not have jurisdiction over their business enterprise; 2) Gammon’s

work for their enterprise was permissible under the child labor

provisions; and 3) Gammon was an independent contractor rather

than an employee. (Administrative Record Docket 12, HALS 0000108-

144 - Respondents’ Opposition to Petitioner’s Motion for Summary

Judgment and Respondents’ Cross Motion for Summary Judgment).

     The administrative law judge (ALJ) concluded that under the

facts of the case that the Act applies, the elements of an

oppressive child labor violation were present, and that Gammon

was an employee of the Halseys’ enterprise.             The ALJ granted the


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Government's motion for summary judgment and denied the Halseys’

cross motion. (Administrative Record Docket 21, HALS 0000193-201

– Order Granting Government’s Motion for Summary Decision on

Liability). Specifically, the ALJ concluded that as a matter of

law: 1) that Gammon was a minor employee of Halseys’ enterprise

employed in an occupation involving transportation of property by

water    which       the    Secretary      has   declared     to   be    hazardous      and

therefore, Gammon's employment constituted oppressive child labor

in violation of the Act;             2) that the Halseys’ enterprise was not

exempt from the Act and therefore, Gammon's employment is covered

by     the    act;    and     3)   that     Gammons    was     not      an    independent

contractor.      (Administrative Record Docket 21, HALS 0000193-201 –

Order    Granting          Government’s     Motion     for    Summary        Decision    on

Liability).

        After ruling in favor of the Government on its motion for

summary judgment, the ALJ affirmed the Government’s civil penalty

assessment and imposed the penalty in the sums of $700.00 for

2001 and $11,000.00 for 2002. (Administrative Record Docket 27,

HALS     0000275-282          –    Order     Setting      Civil      Money     Penalty).

Thereafter, the Halseys filed a timely appeal to the Secretary

and     the   Administrative         Review      Board.      (Administrative      Record

Docket 28, HALS 0000284-303 – Halseys’ Appeal of Administrative

Law Judge’s Decision).

        On September 29, 2005, the ARB issued a Final Decision and

Order affirming the ALG’s decision and order. (Administrative

Record Docket 48, HALS 0000484-495 – Final Decision and Order).




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Thereafter,    plaintiffs         filed   their    complaint   in     the    District

Court seeking judicial review of the agency’s decision.

IV. ARGUMENT

A.   DOL DOES NOT HAVE JURISDICTION OVER
     PLAINTIFFS' ENTERPRISE

     1.    Congressional Authority to Enact Child Labor Law and
           Construction of FSLA

     Congress has the constitutional power to legislate against

labor conditions detrimental to the minimum standard of living

required   for    the   general       well-being      of   workers      engaged    in

commerce or in production of goods for commerce.                    Overnight Motor

Transportation Co., v. Misel, 316 U.S. 572 (1942).                          The Fair

Labor Standards Act (FSLA) is a valid exercise of Congress' power

to regulate interstate commerce among the several States and is

constitutional. Opp Cotton Mills v. Administrator of Wage and

Hour Division of Dept. of Labor, 111 F.2d 23, (5h Cir 1940), cert

denied 74 S.Ct. 46, 311 U.S. 631.

     The   FLSA   is    to   be     liberally     construed    to    apply    to   the

furthest reaches consistent with congressional direction.                       Biggs
v. Wilson, 1 F.3d 1537, cert denied 114 S.Ct. 902, 510 U.S. 1081,

127 L.Ed. 2d 94 (9th Cir. 1993).             While a liberal construction of

the statute is imperative, that construction does not require an

interpretation     that      is    opposed    to    its    obvious     intent      and

purposes. Blankenship v. W.U. Telephone Co., 67 F.Supp. 265,

(S.D.W. Va. 1946), affirmed 161 F.2d 168. The meaning of the FLSA

must in its first instance at least "be sought in its language,

and if that is plain and the Act is constitutional," and the sole



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role of the court is to enforce it.            Fleming v. Hawkeye Pearl

Button Co., 113 F.2d 52 (8th Cir. 1940).        The court must construe

the chapter as written and cannot add to the Act to make it cover

broadly those things which "affect" commerce.” Chapman v. Home

Ice Co, 43 F. Supp. 935 (W.D. Tenn. 1942), reversed on other

grounds, 136 F.2d 353, cert. denied, 320 U.S. 761.

     Although courts have the power to interpret the Act, they do

not have the power to legislate new provisions into the FLSA, and

may not overlook purposes of the Act and the intent of Congress
in choosing its language.     Wantock v. Armour & Co., 140 F.2d 356

(7th Cir 1940), cert, granted 322 U.S. 126, rehearing denied 323

U.S. 818.

     2.     Jurisdiction of the DOL does not extend to
            enterprises that have less than $500,000
            annual gross volume of sales

     The purposes of 29 U.S.C. §212, the Child Labor provision of

the FLSA, are both economic and sociological, and are to protect

adult employees against compensation of minors and to protect

children against harmful labor.       Lenroot v. West, U. Tel. Co.,

52. F. Supp. 142 (D.C.N.Y. (1943), affirmed 141 F.2d 400, cert.

granted, 322 U.S. 719, rev. on other grounds, 323 U.S. 490.            To

this end Congress passed §212(c) of the FLSA which states "[N]o

employer shall employ any oppressive child labor in commerce or

in the production of goods for commerce or in any enterprise

engaged in commerce or in the production of goods for commerce.

Section     203(r)(1)   defines   enterprise     to   mean   the   related
activities performed (either through unified operations or common

control) by any person or persons for a common business purpose.


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Section       203(s)(1)     defines         the     term     "enterprise         engaged    in

commerce or the production of goods for commerce" to mean an

enterprise       that     has    employees          engaged      in      commerce    or     the

production of goods for commerce; and is an enterprise whose

annual gross volume of sales made or business done is not less

than $500,000.

        A commercial fishing enterprise engaged in commerce or the

production of goods for commerce is not subject to the FLSA's

child labor provisions unless the enterprise has a minimum annual

gross sales volume of $500,000.                    Plaintiffs’ annual gross volume

of sales of fish for the years that Samuel performed services for

the enterprise (2001 and 2002) is far less than $500,000.                                  For

the year 2002 the annual gross volume of sales plaintiffs made

from    the    sale    salmon     was       $11,357.85.      For      2001   that    sum    was

$13,477.51.        Plaintiffs' commercial fishing enterprise is for

those years not subject to the child labor provisions because it

had     annual    gross         volumes       of     sales       less     than      $500,000.

(Administrative Record Docket 9, HALS 000056 - Attachment A to

Petitioner’s Motion for Partial Summary Judgment - Respondents’

Responses to Petitioner’s First Set of Interrogatories, Requests

for Admissions, and Requests for Production - Summary of Fish

Tickets).

        In October 2, 2002, the DOL sent plaintiffs a notice of a

civil penalty assessment of $11,700 for alleged violations of its

Child     Labor       Regulation        3     for    the      years       2001     and     2002

(Administrative Record Docket 12, HALS 0000138-140 - Exhibit 3,

October    2,    2002    Letter     from      DOL    to    Ron     and    Debbie    subject:


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assessment of Civil Money Penalty - Respondents’ Opposition to

Petitioner’s Motion for Summary Judgment and Respondents’ Cross

Motion for Summary Judgment). The DOL claims that: (1) Halseys

violated the regulation in 2001 by employing Samuel when he was

13    years    old     and    too    young   to    be   working    in      the   Halseys'

commercial fishing enterprise; and (2) plaintiffs violated the

regulation in 2002 by employing Samuel when he was 14 years old

in an occupation in connection with the transportation of people

or property by rail, highway, air, water, pipeline or other means

in violation of 29 CFR 570.33(f)(1). On October 11, 2002, the

Halseys   answered           the   notice    of    civil    penalty    assessment    and

defended against it on the ground that under the FLSA's Child

Labor law and the DOL child labor regulations the commercial

fishing business conducted by them is not covered by those laws

and regulations. (Administrative Record Docket 12, HALS 0000141-

144 - Exhibit 4, Halsey's reply to the DOL's notice of civil

penalty       assessment       -    Respondents’     Opposition       to   Petitioner’s

Motion for Summary Judgment and Respondents’ Cross Motion for

Summary Judgment).

       In order for the DOL to enforce any of its child labor

regulations against plaintiffs it must have jurisdiction to do

so.    Congress has extended the DOL's jurisdiction under the Child

Labor provisions of FLSA to only those enterprises engaged in

commerce or the production of goods for commerce that have a

minimum       annual    gross       volume    of    sales    of   $500,000.      Section

203(s)(1) of the FLSA as written, means that enterprises engaged

in commerce or the production of goods for commerce that have an


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annual gross volume of sales less than $500,000 are enterprises

over    which    the   DOL    does    not    have    jurisdiction      and    are     not

regulated by the DOL for purposes of enforcing the child labor

provisions.

        Section 203(s), Pub.L. 101-157 §3(a) was amended by Congress

in 1989. The 1989 amendment completely revised the enterprise

test embodied in this subsection so as to increase the dollar

threshold for most small enterprises to a uniform $500,000.00 in

gross annual sales while eliminating several of the existing

separate tests, allowing existing provisions regarding public

agencies,     hospitals,      schools       and   family       businesses    to   remain

unchanged, and continuing the wage, overtime, and child labor

provision protections for workers previously covered. The plain

meaning of §203(s)(1) as amended is that Congress did not intend

to regulate child labor performed in enterprises with an annual

gross volume of sales of less than $500,000. It is clear Congress

chose to reach only those businesses having annual gross volume

in    sales   of    $500,000     or   more,       which    it    considered       exerted

substantial impact upon the free flow of commerce warranting

federal regulation of working conditions of minor child employees

affected thereby. Words in §203(s) of the FLSA, “annual gross

volume from the business" convey a broad meaning and should not

be narrowly construed.          Wirtz v. Allen Green & Associates, Inc.,
379 P.2d 198 (6th Cir. 1967).               Under its broadest interpretation

the     annual     gross     volume   limitation          in    §203(s)(1)    excludes

plaintiffs’ enterprise from the jurisdiction of the DOL in this

case.


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        The threshold question the ALJ had to answer in addressing

Halseys’ motion for summary judgment is whether in light of the

enterprise annual gross volume of sales limitation found in the

Child     Labor     provisions      of   the     FLSA,    does     the     DOL    have

jurisdiction        to     regulate      plaintiffs'       commercial          fishing

enterprise.       The clear answer to this question is no.                Given that

plaintiffs' commercial fishing enterprise did not have annual

gross volume of sales of fish of at least $500,000 for the years

2001 and 2002, the DOL does not have jurisdiction to regulate

their enterprise to enforce child labor provisions of the FLSA.

The burden of proving that the DOL, pursuant to §203(s)(1), has

jurisdiction        over   Respondents     is    that     of    Petitioner.       This

Petitioner cannot do.            Nevertheless, the ALS granted Petitioner

judgment.

        Assuming    Samuel    was     employed    by     the    Halseys    in    their

commercial fishing enterprise for the years 2001 and 2002, if the

DOL is without jurisdiction to regulate their enterprise because

it   does   not     meet   the   minimum   annual       gross    volume    of    sales

limitation     in    §203(s)(1),      plaintiffs    are    entitled       to   summary

judgment in their favor.            There is no genuine issue of material

fact concerning the annual gross volume of sales for plaintiffs'

enterprise for the years 2001 and 2002. For those years which

Samuel performed services as a crewperson for the enterprise, the

enterprise’s annual gross volume of sales was less than $500,000.

As a matter of law they are entitled to summary judgment because

the DOL does not have jurisdiction under the child provisions of

the FLSA to regulate plaintiffs' enterprise.


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      3.     DOL does not have jurisdiction to regulate
             Halseys’ enterprise because the only
             regular employees of the enterprise are its owners

      Section     203(s)(2)   of     the    FLSA       provides      that   any

establishment that has as its only regular employees the owner

thereof, or the parent, spouse, or child or other member of the

immediate family of such owner shall not be considered to be an

enterprise engaged in commerce or in the production               of goods of

commerce or a part of such enterprise, regardless of the annual
gross volume of sales of the enterprise.               The plain meaning of

this section is not to extend the reach of the DOL's jurisdiction

to   business    establishments    that    have   as    its   only   "regular"

employees the owners of the enterprise. The DOL has defined

establishment to include a boat on which a child is employed for

the purpose of catching fish. 29 CFR §570.109(a)(1).

      Neither the FLSA, nor the DOL regulations define the word

"regular".      In interpreting this word in the statute the court

must give it liberal construction; however, it must be applied

with reason and in a common sense fashion. Dunlop v. Ashy, 555

F.2d 1228 (5th Cir. 1977).        As mentioned, the court must construe

the statute as written. The word "regular" denotes something that

is constant. The American Heritage Dictionary of the English

Language, 3d edition (1996) p. 152.

      While a commercial salmon set net fishing enterprise, like

that of plaintiffs', relies on the seasonal catch of fish to
conduct business, the business requires work before and post

fishing seasons. (Administrative Record Docket 12, HALS 0000130-



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134 - Respondents’ Exhibit 1, Affidavit of Ronald L. Halsey filed

in    support    of     Opposition      to     Petitioner’s     Motion     for    Summary

Judgment and Respondents’ Cross Motion for Summary Judgment).

Before     the    fish     catching          season    begins     supplies       must     be

purchased, such as fuel, groceries, clothing suitable for fishing

and sometimes gear.             Gear and equipment must be repaired and

maintained, such as nets and boats.                    During the season the fish

caught must be delivered to market for sale.                          After the fishing

season is over the gear must be put away and stored for                          the next

fishing season and the equipment, like boats and motors, must be

repaired, maintained and winterized and for use the next season.

This work is done by the owners who are regular or constant

employees of the enterprise year round. (Administrative Record

Docket 12, HALS 0000130-133 - Respondents’ Exhibit 1, Affidavit

of    Ronald     L.     Halsey        filed    in     support    of     Opposition        to

Petitioner’s Motion for Summary Judgment and Respondents’ Cross

Motion for Summary Judgment). The work of a crewperson like

Samuel is only occasional. That is, the crewperson's work of

setting nets, picking fish from the nets removing the nets from

the water and unloading the fish on shore only happens during the

short    fishing      season.     (Administrative         Record      Docket     12,    HALS

0000130-133 - Respondents’ Exhibit 1, Affidavit of Ronald L.

Halsey filed in support of Opposition to Petitioner’s Motion for

Summary     Judgment      and     Respondents’        Cross     Motion     for    Summary

Judgment).       Samuel's work as a crewperson did not involve any of

the     work    necessary       for    the     business    of    commercial       fishing

enterprise       that    occurs       before    and   after     the    fishing    season.


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Samuel was not employed for work before and after the fishing

season was over. During season he did not take fish to the

processor    for    sale.    He    was   not    a   regular   employee   of   the

enterprise and therefore, not a constant employee of the fishing

business. (Administrative Record Docket 12, HALS 0000130-133 -

Respondents’ Exhibit 1, Affidavit of Ronald L. Halsey filed in

support of Opposition to Petitioner’s Motion for Summary Judgment

and Respondents’ Cross Motion for Summary Judgment).

       Since the Halseys are the only "regular" employees of their

enterprise    in    that    they   are   constantly      employed   to   do   the

essential work necessary for the operation of their commercial

business before, during and after the fishing season is over, the

DOL, pursuant to Section 203(s)(2) of the FLSA, does not have

jurisdiction over Halseys' commercial fishing enterprise. Their

establishment has as its only regular employees the Halseys.

Congress must have intended for the word “regular” to modify the

word employee and be considered something different than just any

employee.

       Samuel was not a regular employee under a reasonable and

common sense fashion interpretation of the word "regular."                    His

work   was   very   limited       to   only    setting   nets,   picking   fish,

removing nets and unloading fish from the boat on shore during

the short fishing season.          The DOL cannot regulate here.         The DOL

is not entitled to judgment as a matter of law.

       Assuming that Samuel was employed by Plaintiffs, the only

regular employees of the establishment are Plaintiffs who own the

commercial fishing enterprise.           Because of this, the DOL does not


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have the power to regulate the Halseys' enterprise for purposes

of enforcing the child labor provisions of the FLSA.           Since DOL

lacks jurisdiction to regulate the enterprise in this case, the

Halseys are entitled to judgment as a matter of law.

B.   GAMMON'S WORK IN 2002 AS CREWPERSON IN HALSEYS’
     FISHING ENTERPRISE WAS NOT EMPLOYMENT IN AN
     OCCUPATION CONNECTED WITH TRANSPORTATION AND
     THEREFORE, NOT OPPRESSIVE CHILD LABOR

     1.     The FLSA Child Labor Provisions and the
            Secretary's Regulations

     The Fair Labor Standards Act of 1938 (FLSA) and as amended

provides that "[N]o employer shall employ any oppressive child

labor in commerce or the production of goods for commerce or in

any enterprise engaged in commerce or in the production of goods

for commerce." 29 U.S.C. §212(c).          The Secretary of Labor is

charged with enforcement of the child labor provisions of the

FLSA. Id. at §212(b).

     "Oppressive child labor" is defined to mean a condition of

employment under which (1) any employee under the age of sixteen

years is employed by an employer (other than a parent or a person
standing in place of a parent employing his own child or a child

in his custody under the age of sixteen in an occupation other

than manufacturing and mining or an occupation found by the

Secretary    of   Labor   to   be   particularly   hazardous    for    the

employment of children between the ages of sixteen and eighteen

years, or detrimental to their health or well-being) in any

occupation, or (2) any employee between the ages of sixteen and

eighteen years who is employed by an employer in any occupation



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which the Secretary of Labor shall find and by order declare to

be particularly hazardous for the employment of children between

such ages or detrimental to their health or well-being. 29 U.S.C.

203 (l). ...      ...     The Secretary of Labor shall provide by

regulation or by order that the employment of employees between

the ages of fourteen and sixteen years in occupations other than

manufacturing   and     mining   shall   not   be   deemed    to   constitute

oppressive child labor if and to the extent that the Secretary of

Labor determines that such employment is confined to periods

which will not interfere with schooling and to conditions which

will not interfere with their health and well being.               Id.

     2.   At Age 14 Gammon Was Permitted in 2002 To Be Employed
          As A Crewperson In Plaintiffs' Commercial
          Fishing Enterprise

     Department   of    Labor    (DOL)   regulation   29     CFR   §570.31   in

subpart C, "Employment of Minors Between 14 and 16 years (Child

Labor Reg 3)," Determination, states the employment of minors

between the ages of 14 and 16 years in the occupations, for the

periods, and under the conditions hereafter specified does not
interfere with their schooling or with their health and well

being and shall not to be deemed to be oppressive child labor.

DOL regulation §570.32 states that in all occupations covered by

this subpart the employment (including suffering or permitting to

work) by an employer of minor employees between 14 and 16 years

of age for the periods and under conditions specified in §570.35

shall not be deemed to be oppressive child labor within the

meaning of the FLSA of 1938.




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      Subsection (a) of §570.35 provides in relevant part that

employment in any of the occupations to which Subpart C §570.31

and 570.32 apply shall be confined to the following periods: (1)

outside of school hours; (2) not more than 40 hours in any 1 week

when school is not in session; (3) not more than 18 hours in any

one week when school is in session; (4) not more than 8 hours in

any given day when school is not in session; (5) not more than 3

hours in any given day when school is in session; and (6) Between

7 a.m. and 7 p.m. in any given 1 day, except during summer (June

1 through Labor Day) when the evening hour will be 9 p.m.                Minors

between the ages of 14 and 15-year-old are permitted, under

conditions set forth in §570.35, to be employed by retail, food

service, gasoline establishments and other places of employment.

§570.35; §570.31; §570.32.

      The Subpart C provisions permit the employment of minor

employees between the ages of 14 and 16 years whose work involves

the catching of fish or working on fishing boats. (Administrative

Record Docket 12, HALS 0000134-137 - U.S. Dept. Of Labor Youth

Employment     Rules     in   Net   Fishing,    Respondents’      Exhibit     2,

Opposition    to    Petitioner’s    Motion     for    Summary   Judgment      and

Respondents’ Cross Motion for Summary Judgment). The FLSA does

not   expressly     define    "establishment",       however,   the     DOL   has

defined the term to mean a boat where productive activity such as

catching     fish   is   carried    on.   §570.109(a)(1).       Thus,    minors

between the ages of 14 and 16 years are permitted to be employed

in work involving commercial set net fishing.                   Employment of

minors between the ages of 14 and 16 on set net fishing boats is


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a permissible occupation under DOL's regulations and shall not be

deemed to be oppressive child labor within the meaning of the

FLSA.

        The employment of minors between the ages of 14 and 16 years

under     DOL's      regulations       in   Subpart   C    is    permitted     in   all

occupations       other    than    those     specifically       listed    in   29   CFR

§570.33.      Subpart C provisions apply to all occupations other

than occupations in connection with transportation of persons or

property by rail, highway, air, water, pipeline, or other means.

§570.33 (f)(1).         Minors between the ages of 14 and 16 may not be

employed in these occupations.

        The government argued and the ARB in affirming the granting

of defendant’s summary judgment took the position that Samuel's

work as a crewperson in the Halseys’ commercial salmon set net

fishing    enterprise       is    an    occupation    in    connection       with   the

transportation of persons or property by water, and therefore,

the   DOL's    regulations        allowing    employment        of   minor   employees

between the ages of 14 and 16 years does not apply in this case.

Petitioner and the court are gravely mistaken.                           The work of

catching      fish    is   not    an    occupation    in    connection       with   the

transportation of person or property by water.

        The word "occupation" is not defined in the child labor

provisions of the FLSA or in DOL regulations.                         Therefore, the

word must be interpreted using common usage, reason and common

sense.     "Occupation" is defined in the dictionary as an activity

that serves as one's regular source of livelihood; a vocation.

The American Heritage of the English Language, 3d edition (1996)


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p. 1251.      This is the common and ordinary meaning of the word in

the context of this case.              Under this definition the activity

that    served   as   Samuel's    regular      source    of   livelihood   as   a

crewperson in plaintiffs' commercial fishing enterprise was the

catching of fish.        Catching fish is what served as his regular

source of income from his activity of setting nets, picking fish

from the nets, removing the nets from the water and unloading the

catch on shore. Gammon's employment did not include an occupation

in connection with the transportation of persons or property by

water for hire.         While it is true that persons and fish are

transported      in   plaintiffs'      fishing   boat    in   connection    with

catching fish, this is merely incidental to the occupation of

catching fish.        Transportation of persons and property by water

for hire is not the regular source of income for the commercial

catching of fish.

        The   government’s       and     the     ARB’s    interpretation        of

§570.33(f)(1) is strained. Courts should not give words used in

the FLSA a strained or unreasonable meaning.              Maddox v. Jones, 42

F. Supp. 35 (N.D. Ala. 1940).             The occupation that Samuel was

engaged while working in plaintiffs' enterprise was in connection

with catching fish, not the transportation of persons or property

by water for hire.        The fish transported in the fishing boat is

not the property of another.             The fishing crew are not persons

being    transported    over   water     for   hire.      Even   the   Secretary

interprets 29 CFR 570.33 to apply to minor employees between the

ages of 14 and 16 whose work involves catching fish, including

net fishing, and allows such employment during periods and under


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conditions      that     do    not     interfere        with    their      schooling.

(Administrative Record Docket 12, HALS 0000134-137 Exhibit 2,

Youth Employment Rule In Net Fishing - Respondents’ Opposition to

Petitioner’s Motion for Summary Judgment and Respondents’ Cross

Motion for Summary Judgment).

        DOL regulation 3, under certain conditions, permits minors

who are 14 and 15 to be employed in the occupation of catching

fish with nets.        In 2002 Samuel was 14 years old when he worked in

plaintiffs'      commercial     net    fishing      business     as    a   crewperson.

School was not in session.            Since Samuel was 14-years-old when he

was employed in the occupation of net fishing, and the work was

done during the period when school was not in session and between

the hours of 7 a.m. and 7 p.m. in July when the set net salmon

fishery was open, his employment was not prohibited by §570.33 of

the DOL's child labor regulations and cannot be deemed oppressive

child labor.         Therefore, for the year 2002 Plaintiffs did not

violate the child labor provisions of the FLSA. The government was

not   entitled    to    judgment      as   a   matter    of    law    on   this   issue.

However, for the year 2002 plaintiffs are entitled to judgment as

a matter of law since no violation of the Act occurred. Samuel,

while     employed     by     Plaintiffs       in   their      commercial         fishing

enterprise for that year, was permitted to work as plaintiffs'

crewperson during the period and under the conditions that did not

interfere with his schooling, health or well-being. The employment

for 2002 cannot be deemed to be oppressive child labor.




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         D.    SAMUEL WAS AN INDEPENDENT CONTRACTOR NOT AN EMPLOYEE

        1.     The nature of Samuel's work and method of payment
               for work made him an independent contractor and
               not an employee of Halseys' enterprise

        Employment is not defined in the Act. However, the FLSA

defines       employer     to   include    any      person   acting    directly    or

indirectly in the interest of an employer in relation to an

employee and includes public agency, but does not include any

labor organization . . . or anyone acting in the capacity of

officer or agent of such labor organization. §203(d). The term

"employee" under the FLSA means any individual employed by an

employer. §203(e)(1). "Employ" means to suffer or permit to work.

§203(g).

        Section 203(r)(1) however, excludes activities performed by

an independent contractor from the definition of "enterprise."

Under the Internal Revenue Code, after 1976 a person engaged in

the commercial catching of fish and who is paid based on a share

of proceeds from the boat's catch is deemed self-employed and an

independent contractor. See IRS regulation 26 CFR §1.1402(c)-

3(g).        The activity constitutes a trade or business within the
meaning of §1.1402(c) defining employees. Plaintiffs agree that

courts must determine as a matter of economic reality if an

individual       is   an    employee      or   an    independent      contractor   in

business for himself. Rutherford Food Corp. v. McComb, 331 U.S.

722, 728 (1947).            There are several factors the courts must

consider. See Secretary of Labor v. Lauritzen, 835 F.2d 1529,
1535 (7th Cir, 1987) for factors.                   No single factor in the test

is determinative.           Lauritzen, 835 F.2d at 1524.                One of the


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factors to be considered is the degree of permanency and duration

of the working relationship.

       Samuel was paid on a share of proceeds from the catch of

fish by the boat basis. (Administrative Record Docket 12, HALS

0000130-133 - Respondents’ Exhibit 1, Affidavit of Ronald L.

Halsey filed in support of Opposition to Petitioner’s Motion for

Summary       Judgment     and    Respondents’        Cross       Motion    for   Summary

Judgment).        In this case the permanency of Samuel's services

performed for the Halseys’ enterprise was seasonal and of a short

duration of only a matter of weeks. (Administrative Record Docket

12,    HALS    0000130-133       -     Respondents’     Exhibit      1,    Affidavit    of

Ronald L. Halsey filed in support of Opposition to Petitioner’s

Motion for Summary Judgment and Respondents’ Cross Motion for

Summary Judgment).              The Cook Inlet commercial salmon set net

season opens July 1 and closes August 7.                     This is barely a month

of    fishing.       Given       the    intermittent        and    short    duration    of

Samuel's services he was an independent contractor and not an

employee.       The IRS regulations recognize the seasonal and short

duration of the work of individuals engaged in the fishing. It is

also   understood        that    the    basis    of   pay    for    those    engaged     in

fishing is sometimes based on receiving a share of the proceeds

from the boat's catch of fish.                  The fisherman who fishes on the

basis of receiving a share of the proceeds the boats catch has an

investment      in   how    successful       the      fishing      operation      is.   His

opportunity for profit or loss depends on how much fish the boat

catches.       While IRS regulations do not conclusively determine

whether a person is an independent contractor for purposes of the


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child labor provisions of the FLSA, the regulation should be

considered in weighing the factors that must be considered in

making the determination.       Given the nature and duration of the

work of those engaged in the commercial catching of fish, the IRS

recognizes that such work is more akin to trade and business and

not employment.

      For   the   these   reasons    in   2001    and   2002   Samuel   was   an

independent contractor when he performed crewperson services for

the Halseys' commercial salmon set net fishing enterprise.              He was

not an employee.     The DOL does not have jurisdiction over the work

performed by independent contractors, regardless of their age.

For this reason, Petitioner was not entitled to judgment as a

matter of law.

V.    CONCLUSION

      The death of Samuel Gammon, age 14, while he was performing

services as a crewperson in connection with plaintiffs' commercial

fishing enterprise was a very sad and tragic event.              However, the

DOL for the reasons explained herein does not have jurisdiction

over the activities involved in plaintiffs' enterprise regarding

the employment of minor employees.               Even if the DOL does have

jurisdiction, in 2002 Samuel was permitted to be employed at age

14 as a crewperson in Halseys’ commercial fishing enterprise.

DOL’s Motion For Summary Judgment should have been denied. The

Halseys' Cross Motion for Summary Judgment on the DOL's claim for

assessment of a civil penalty should have been granted.
      The decisions of the ARB affirming granting summary judgment

for   DOL   and    affirming   the   civil   penalty     assessment     against


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plaintiffs should be reversed and remanded with instructions to

enter judgment in favor of plaintiffs.

     Respectfully submitted this 30th day of March, 2007.


          ROBINSON & ASSOCIATES
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                      CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing MOTION FOR SUMMARY
JUDGMENT AND MEMORANDUM IN SUPPORT OF MOTION was served
electronically upon counsel for Defendant’s counsel, Richard L.
Pomeroy, Assistant United States Attorney, this 30th day of
March, 2007.

By: /s/ Arthur S. Robinson




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